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                          UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                  WESTERN DIVISION


SUSAN WRIGHT, et al.,                             JUDGMENT IN A CIVIL CASE

            Plaintiffs,
v.

PROGRESSIVE DIRECT INSURANCE CO., et al,                CASE NO: 07-2503-B

           Defendants.
______________________________________________________________________


DECISION BY COURT. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent order Of
Dismissal With Prejudice entered February 21, 2008, this cause is hereby dismissed
with prejudice.


APPROVED:



s/ J. Daniel Breen
J. DANIEL BREEN
UNITED STATES DISTRICT COURT

February 22, 2008                                              Thomas M. Gould
Date                                                           Clerk of Court

                                                               s/ T. Elchlepp
                                                               (By) Deputy Clerk
